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                            IN TH E U NITED STA TES DISTR ICT C OU RT
                           FOR TH E SO UTH ERN DISTRICT OF FLO RIDA

      UNITED STATES OF AM ERICA ,                             N O .15-C14-20545-.1%

              Plaintiff,



      GUSTAV O J.GIRAI,,

              Defendant.


                               STATEM ENT O F THE OFFENSES

           TheUnited StatesAttorney,in and forthe Southern DistrictofFlorida,and the

    DepartmentofJustice,CriminalDivision,FraudSectionCttheGovernmenf'),andtheDefendant
    representand agreethatifthism atterwere to proceed to trialthe G ovem m entw ould beable to

    prove the follow ing beyond areasonable doubt:

    1.                     Factoring wasa type ofaccountsreceivable financing in w hich a m erchant

                  sold the rightto collecton its accountsreceivable to a private lender,fora

                  discounted price,in return forim m ediate cash. Private lenderswho specialized

                  in thistype offinancing were called factors.Factoring provided im m ediate

                  m oney allow ing the borrowing business to pay bills orto purchase additional

                  m erchandise.guarantee.

    2.            '
                  TheExportlmportBank(tEEx-Im Bank''),locatedinW ashington,D.C.,isan
                  executive branch agency oftheUnited States and isresponsible forprom oting the

                 exportofUnited Statesgoodsto foreign com panies. Ex-lm Bank issues loan
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              guaranteesto dom esticbanksforloansprovided to foreign buyerspurchasing

              goodsm anufactured in the United States.

   3.                Priorto issuing a loan guarantee,Ex-lm Bank requiresthe lending bank to

              docum entthe transaction by completing an Application forM edium -Term

              lnsurance(''
                         Ex-lm Application''),whichdetailstheloanamount,downpayment,
              the goodsbeing purchased and shipped,and theircountry oforigin.

   4.                The Ex-lm Application includes inform ation m em orializing the

              com m ercialtransaction thatisprovided by participants in the loan transactions

              which included the identity ofborrow ers,lenders,brokers,suppliersand

              exporters.

   5.                Ex-lm Bank requiresthattheexportercertify to the lending bank,in the

              form ofan Ex-lm Bank Exporter'sCertificate,thatUnited Statesgoodshave

              actually been purchased and shipped to the borrow ersbefore Ex-lm Bank w ill

              issuea loan guarantee.

   6.                Atalltim esrelevantto the crim escharged in the Indictm ent,GUSTA VO

              J.GIRAL CGIRAIaD wasaUnitedStatescitizen,residedinMiami,FL,and
              ownedbothGlobalExportMachinery,Inc.CtGEM ''),anexportcompanylocated
              in M iam i,FL,and Zaragoza Exports,an exportcompany located in M iam i,FL.

              G IR AI,w asm arried to defendantlsabelC.Sanchez.

                    A ta1ltim esrelevantto the crim escharged in the Indictm ent,the defendant

              IsabelC.Sanchez(ttlsabelSanchez'),wasaUnitedStatescitizenresidingin
              M iami,FL.IsabelSanchezownedEx-lm ofAmerica,lnc.(çûEOA''),anexport
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              com pany located in M iam i,FL. EOA wasaprivate com pany and notrelated in

              any way to Ex-lm Bank. EOA factored fictitioussales invoicesto tw'
                                                                               o M iam i

              area Factors. lsabelSanchez w asm arried to defendantG IR AIUand wasthe

              daughterofdefendantGuillenuo A .Sanchez-Badia.

   8.                       GuillermoA.Sanchez-Badia(GuillermoSanchez''),aUnited
              Statescitizen,resided in M iam i,FL,and ow ned both A CE Products,Inc.

              (çACE''),anexportcompanylocatedinCutlerBay,FL,andTimberDepot
              (tl-
                 fimberDepof'),alumberexportcompanylocatedinMiami,FL,andDorado,
              Puerto Rico. Tim berDepotfactored fictitious salesinvoicesto two M iam iarea

              Factors. Guillerm o Sanchez w asthe fatherofIsabelSanchez.

   9.                Ata1ltim esrelevantto the crim escharged in the Indictm ent,Fredy

              Moreno-Beltran(çsM oreno''),aColombiannational,residedinColombia,South
              America,andownedClientricS.A.(tCSA''),atelephonecallcenterbusiness
              Iocated in Colom bia. M oreno and CSA acted asa Ssbuyer''in both the factoring

              fraud and the Ex-lm Bank fraud.

   10.               Ata1ltim esrelevantto the crimescharged in the Indictm ent,JorgeR .

              Amad($Wmad''),wasaUnitedStatescitizen residedinM iami,FL,andwasthe
              co-ow nerofatelecomm unications software com pany know n asApproach

              TechnologieslnternationalCATl'').
                    Ata1ltim esrelevantto the crim escharged in the Indictm ent,Ricardo J.

              Beato(1$Beato'')wasaU.S.CitizenresidinginMiami,Floridaandwastheco-
              ow nerofATI.


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    12.               G IR AL,lsabelSanchez and Guillerm o Sanchez caused com paniesthey

               owned and controlled to enterinto factoring loan agreem entsw ith the Factors,

              pursuantto which theFactorspurchased pup orted receivables. G II
                                                                             RA L follow ed

              the instructionsoflsabelSanchez and Guillerm o Sanchez in carrying outthe

              crim inalactivity.

                      From February 2007,through Decem ber2012,in M iam i-Dade County,in

              the Southern DistrictofFlorida,and elsewhere,G IRA L,IsabelSanchez,

              Guillerm o Sanchez and othersdefrauded the Factorsand Ex-lm Bank by m aking

              m aterially false statem entsaboutthe purchaseoflum ber,m achinery and

              telem arketing equipm entin orderto obtain financing including through an Ex-lm

              Bank guaranteed loan.

   14.                G IR AL,lsabel Sanchez and Guillenno Sanchez caused com panies they

              owned and controlled to enter into factoring loan agreem ents w ith the Factors,

              pursuantto w hich theFactorspurchased purported receivables.

   15.                G IR AL,IsabelSanchez,Guillerm o Sanchez,and otherscreated and caused

              to be created false and fraudulent docum ents to the Factors and Ex-lm Bank,

              including false purchase orders,invoices and shipping docum ents purporting to

              show that m erchandise had been purchased by, and shipped to, foreign and

              dom estic purchasers possessing satisfactory comm ercial credit,when in fact no

              such purchasesorshipm entsoccurred.

                     G IR AL,lsabelSanchez,Guillerm o Sanchez,and otherscausedthetransfer
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              offraudproceeds,viabankwiretransfer,toaccountsinthenamesofoverten(10)
              com panies they ow ned and controlled in order to disguise that the funds were

              provided by the Factorsand the Ex-lm guaranteed loan provider.

   17.               G IR AL,lsabelSanchez,Guillerm o Sanchez,and otherscreated additional

              false and fraudulentinvoicesthatwere factored which purported to show new sales

              and purchases, and used a portion of the fraudulent proceeds to pay off prior

              factored invoicesin a Ponzi-like schem e.

   18.               Ata tim e when the Factors refused to extend additionalfinancing due to

              paym ent delinquencies, G IR AIa, Isabel Sanchez, G uillenno Sanchez, M oreno,

              Am ad,and Beato obtained afraudulentEx-lm Bank guaranteed loan to furtherfund

              the schem e.

   19.               G IR AI,,lsabel Sanchez,Guillerm o Sanchez,M oreno,Am ad,and Beato

              subm itted false and fraudulentdocum entsto Ex-lm Bank through aLender,falsely

              representing that United States goods had been purchased by and shipped to a

              foreign buyer.

                     G IR AL ,IsabelSanchez,and Guillerm o Sanchez,used a portion ofthe Ex-

              lm Bank guaranteed loan proceedsto pay off,earlierfactored invoices.

                     On oraboutJuly 23,2010,G IR ATa,lsabelSanchez and Guillerm o Sanchez

              caused a $300,000 bank wire transfer funded through factoring proceeds from
             ACE'S Bank A ccount, in M iam i,Florida to a bank account they controlled in,

             Puerto Rico in furtherance ofthe Ponzi-like schem e.
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  22.              G IR AI,,IsabelSanchez and Guillerm o Sanchez caused theFactorsto incur

             acombined lossofapproximately $9,551,425.

  23.              G IR AL,IsabelSanchez,Guillerm o Sanchez,M oreno,Am ad,and Beato

             caused the Ex-lm bank guaranteed loan to default,causing the United States to

             incurapproximately a$1,951,643 lossin indemnifying aLender.

                   G IR ATa,IsabelSanchez,Guillerm o Sanchez,M oreno,A mad,and Beato

             kepta portion ofthe fraudulently obtained proceedsfortheirpersonalbenefit.



  Date: z/ac //t
                                                GU STAVO J.GIR AL
                                                Defendant


  Date:z/zem z                                    J                      .
                                                DANIEL ECARIUS,ESQ.
                                                Attorney forthe D efendant
                                                               /

  Date: - 7, /                                               &
                                                  LLI H .B W NE
                                               TrialAttorney
                                               Florida Bar# A 5501472
                                               PATRICK M .DON LEY
                                               SeniorLigation Counsel
                                               Florida Bar# A5501108
                                               Fraud Section,Crim inalDivision
                                               United StatesDepartm entofJustice
